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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:17-cv-01302-JLS-KES                                        Date: April 09, 2021
  Title: Armando Villanueva v. State of California et al

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

               Melissa Kunig                                          N/A
               Deputy Clerk                                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANTS:

                Not Present                                      Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER CONTINUING HEARINGS

          On March 26, 2021, the Court held a status conference in this matter during which
  it ordered the parties to file a joint report regarding further mediation. (Status Conf.
  Order, Doc. 120.) The parties timely filed a report on April 8, 2021, informing the Court
  that the parties have scheduled a full-day mediation on August 17, 2021, which is the first
  available date. (Joint Report, Doc. 122.) In light of this, the Court CONTINUES the
  hearings in this action as follows:
       • The hearing on the parties’ Daubert motions (Docs. 74, 75, and 76) is
          CONTINUED from August 13, 2021 to September 3, 2021 at 10:30 a.m.;
       • The hearing on the parties’ motions in limine (Docs. 88, 89, 90, 91, 92, 93, 94, 95,
          96, 97, 98, 99, 100, 101, 102) and the Final Pretrial Conference is CONTINUED
          from September 10, 2021 to October 1, 2021 at 10:30 a.m.


                                                               Initials of Deputy Clerk: mku




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